           Case 2:05-cv-01053-JS Document 9-2 Filed 08/31/05 Page 1 of 10



                            UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                               COURT FILE NO.: 05-CV-1053


Kristy Moyer,
                                                                   PLAINTIFFS’ MEMORANDUM
                       Plaintiff,                                 IN SUPPORT OF AN AWARD OF
v.                                                                ATTORNEYS’ FEES AND COSTS

Turnbrook Associates, Inc.,

                      Defendant.                                 [ORAL ARGUMENT REQUESTED]


                                             I. INTRODUCTION

         Plaintiffs submit this Memorandum of Law in Support of their application for an award

of attorney’s fees pursuant to 15 U.S.C. § 1692k(a)(3).

                                                    II. FACTS

         Pursuant to Fed. R. Evid. 201, Plaintiff respectfully requests that the Court take judicial

notice of the following facts relevant to this motion:

1.    Plaintiff Kristy Moyer commenced this action by filing a Complaint on March 4, 2005.

2.    The Complaint in this action alleged that the Defendants violated multiple and numerous

      provisions of the Fair Debt Collections Practices Act, 15 U.S.C. §1692, et seq. (hereinafter

      FDCPA).

3.    The Summons and Complaint were duly served on Defendants as of March 15, 2005.

4.    The Defendants filed an Answer to Plaintiff’s Complaint with the Court on March 29,

      2005, which denied that Defendants had engaged in any unlawful conduct.

5.    Plaintiffs then served Defendants with discovery requests in the form of Interrogatories,

      Request for Admissions, Request for Production of Documents and Request for Statements.




                                                         -1-
P:\Documents\WPO2002\WP51\CONSUMER LAW FORMS\Moyer v. Turnbrook\Memo of Law in Support of Atty Fees.doc
           Case 2:05-cv-01053-JS Document 9-2 Filed 08/31/05 Page 2 of 10



6.    This case was vigorously defended by the Defendants and vigorously litigated by the

      Plaintiffs in an effort to prove their claims in the face of the strong denials by these

      Defendants.

7.    The parties participated in Arbitration with Joseph keener, Esquire, John White, III,

      Esquire and Linda Moy, Esquire serving as arbiters on July 20, 2005.

8.    An arbitration award in the amount of $1,000.00 was entered for the Plaintiff and against

      Defendant Turnbrook, on July 21, 2005

9.    Defendants did not appeal the arbitration award and a Civil Judgment was entered by this

      Honorable Court on August 25, 2005, in the amount of $1,000.00 for the Plaintiff and

      against Defendant Turnbrook,.

10.   Attached to these motion papers, and incorporated by reference is the Affidavit of Jason M.

      Rapa, which details the undersigned counsel’s billable time and costs on this case as well

      as his professional experience.

11.   Attached to these motion papers, and incorporated by reference is the Affidavit of Amount,

      which details the total billable time and costs on this case.

                                          III. LEGAL ARGUMENT

A.       PLAINTIFF’S           FDCPA         SUIT      WAS        SUCCESSFUL             AND       THEREFORE

         PLAINTIFF AS THE PREVAILING PARTY IS ENTITLED TO AN AWARD OF

         ATTORNEY’S FEES AND COSTS UNDER THE FDCPA.

         The FDCPA expressly authorizes the recovery of attorney fees and costs to a successful

consumer Plaintiff:

                  . . .any debt collector who fails to comply with any provision of this
                  subchapter . . . is liable to such person in an amount equal to the sum of -
                  [actual damages] [statutory damages] and



                                                         -2-
P:\Documents\WPO2002\WP51\CONSUMER LAW FORMS\Moyer v. Turnbrook\Memo of Law in Support of Atty Fees.doc
           Case 2:05-cv-01053-JS Document 9-2 Filed 08/31/05 Page 3 of 10



                  (3) in the case of any successful action to enforce the foregoing liability,
                  the costs of the action, together with a reasonable attorney's fee as
                  determined by the court.

15 U.S.C. §1692k(a)(3). The purpose of this fee shifting provision is to attract competent

counsel. Zagorski v. Midwest Billing Services, Inc., 128 F.3d 1164, 1167 (7th Cir. 1997). In

litigation under to the FDCPA, an award of attorney fees is mandatory, not discretionary

Graziano v. Harrison, 950 F.2d 107, 113 (3rd Cir. 1991). Piples v. Credit Bureau of Lockport,

Inc., 886 F.2d 22, 28 (2d Cir. 1989) (“Because the FDCPA was violated, however, the statute

requires the award of costs and reasonable attorney's fee. . .”); Mace v. Van Ru Credit, 109 F.3d

338, 344 N.3 (7th Cir. 1997).

         An award of attorney’s fees to a successful consumer under the FDCPA is designed to

compensate the consumer for his role in privately enforcing the FDCPA. Tolentino v. Friedman,

46 F.3d 645, 651 (7th Cir. 1995); see also, Murphy v. Ford Motor Credit Co., 629 F.2d 556 (8th

Cir. 1980) (Truth in Lending case). Congress clearly intended that the prevailing consumer

would recover his or her reasonable attorney’s fees and costs.

                  Given the structure of the section, attorney's fees should not be construed
                  as a special or discretionary remedy; rather, the Act mandates an award of
                  attorney's fees as a means of fulfilling Congress's intent that the Act
                  should be enforced by debtors acting as private attorneys general.

Graziano, 950 F.2d 107, 113 (3d Cir. 1991) (emphasis added). See, also DeJesus v. Banco

Popular de Puerto Rico, 918 F.2d 232, 235 (1st Cir. 1990) (awarding attorney fees under the

Truth in Lending Act).

         Plaintiff’s Complaint alleges numerous violations of the FDCPA, 15 U.S.C. §§ 1692 et

seq. for which she successfully prevailed by being awarded the maximum statutory damages

available under the Act and therefore Plaintiff’s attorneys fees and costs should be awarded as

requested.

                                                         -3-
P:\Documents\WPO2002\WP51\CONSUMER LAW FORMS\Moyer v. Turnbrook\Memo of Law in Support of Atty Fees.doc
           Case 2:05-cv-01053-JS Document 9-2 Filed 08/31/05 Page 4 of 10



B.       ATTORNEY FEES AWARDS SHALL BE CALCULATED ACCORDING TO

         THE LODESTAR FORMULA.

         In calculating an award of attorney’s fees, the Court must first begin with the “lodestar”

figure, which is calculated by multiplying the hours reasonably expended times an allowed

hourly rate. See Hensley v. Eckerhart, 103 S.Ct. 1933, 1939 (1983) (viewing an award of fees

under 42 U.S.C. §1988).            The burden is on the applicant to prove that the fee request is

reasonable, with a strong presumption that the lodestar amount represents a fair and appropriate

fee award. Hensley, 103 S.Ct. at 1941.

         Although Hensley was decided in the context of a civil rights case, the lodestar analysis is

applicable to all cases involving an attorney fee shifting statute.                    The Supreme Court has

previously noted that, “We have stated in the past that fee shifting statutes’ similar language is ‘a

strong indication’ that they are to be interpreted alike.”                  Independent Federation of Flight

Attendants v. Zipes, 491 U.S. 754, 109 S.Ct. 2732, 105 L.Ed.2d 639 (1989) (quoting Northcross

v. Memphis Bd. Of Education, 412 U.S. 427, 428, 93 S.Ct. 2201, 2202, 37 L.Ed.2d 48 (1973).)

See also City of Burlington v. Dague, 112 S.Ct. 2638, 2641 (1992) (clean water act case

applying lodestar analysis); Simpson v. Sheahan, 104 F.3d 998, (7th Cir. 1997) (civil rights

case); DeJesus v. Banco Popular de Puerto Rico, 918 F.2d 232, 234 (1st Cir. 1990) (truth in

lending case); Piekarski v. Home Owners Savings Bank, F.S.B., 755 F. Supp. 859, 863 (D. Minn

1991) (retaliatory discharge case).

         The determination of the allowable hours rests with the sound discretion of the trial court.

Hensley, 103 S.Ct. at 1941. A determination of the hourly rate by the trial court should consider

a rate “commensurate which [counsel] could obtain by taking other types of cases.” Tolentino,

46 F.3d 645, 652 - 653 (7th Cir. 1995).

C.       THE HOURLY RATES FOR PLAINTIFFS’ ATTORNEYS ARE REASONABLE.
                                                         -4-
P:\Documents\WPO2002\WP51\CONSUMER LAW FORMS\Moyer v. Turnbrook\Memo of Law in Support of Atty Fees.doc
           Case 2:05-cv-01053-JS Document 9-2 Filed 08/31/05 Page 5 of 10



         The undersigned counsel’s hourly rate of $225.00 per hour is reasonable for the work

performed in this case. This counsel has three years of experience in litigating hundreds of

FDCPA cases for Pennsylvania consumers on both individual and class action basis.

         This counsel has received extensive training and co-counsel experience with Peter F.

Barry, Esquire of St. Paul, Minnesota who has litigated, settled, and resolved thousands of

FDCPA cases over the past decade, in addition to acting as an Adjunct Professor of Law

teaching a federal consumer rights litigation strategy class to students at William Mitchell

College of Law in St. Paul, Minnesota and has trained more than 40 attorneys from 17 states in

consumer law litigation and practice strategies, including this undersigned counsel. See website

lawpoint.com. This counsel has also co-counseled with the very experienced David A. Searles,

Esquire of the firm of Donovan and Searles, LLC, Philadelphia, Pennsylvania on FDCPA class

action cases.

         I have focused my law practice in the FDCPA area, and have established myself as a

valuable advocate for otherwise underrepresented consumers in Lehigh Valley, Pennsylvania. In

addition, this counsel has spoken at a national consumer rights seminar held in Washington, D.C.

this past year, educating other consumer advocates on FDCPA litigation. This counsel

respectfully posits that given the depth and breadth of his expertise in the area of FDCPA

litigation, his hourly rate of $225.00 is eminently reasonable for this type of federal litigation.

D.       “PROPORTIONALITY” IS NOT A PART OF THE COURT’S ANALYSIS IN

         DETERMINING REASONABLE FEES.

         Plaintiff anticipates that the Defendant may argue that the size of Plaintiff’s Civil

Judgment should be considered in determining what a “reasonable” attorney fee award is.

However, the amount of attorney’s fees awarded pursuant to statute is not required to be



                                                         -5-
P:\Documents\WPO2002\WP51\CONSUMER LAW FORMS\Moyer v. Turnbrook\Memo of Law in Support of Atty Fees.doc
           Case 2:05-cv-01053-JS Document 9-2 Filed 08/31/05 Page 6 of 10



proportionate to the amount of damages recovered. To the contrary, a trial court may abuse its

discretion if it applies an impermissible “proportionality” standard to the fee award.

         The U.S. Supreme Court has previously considered the question of proportionality in

attorney fee awards and rightly held:

                  We reject the proposition that fee awards under section [42 U.S.C.] 1988
                  should necessarily be proportionate to the amount of damages a civil
                  rights plaintiff actually recovers.

City of Riverside v. Rivera, 477 U.S. 561, 574, 106 S.Ct. 2686, 2694, 91 L.Ed.2d 466 (1986).

The Court went on to state:

                  A rule of proportionality would make it difficult, if not impossible, for
                  individuals with meritorious civil rights claims but relatively small
                  potential damages to obtain redress from the courts. This is totally
                  inconsistent with Congress’ purpose in enacting section 1988.

Id., 477 U.S. at 578, 106 S.Ct. at 2696.

         In the context of a similar Consumer Credit Protection Act statute, the Fair Credit

Reporting Act, (“FCRA”), the Fourth Circuit stated:

                  Proportionality of attorneys’ fees to the amount recovered is not required
                  in every action brought pursuant to the FCRA. Since there will rarely be
                  extensive damages in an FCRA action, requiring that attorney’s fees be
                  proportionate to the amount recovered would discourage vigorous
                  enforcement of the Act.

Yoyay v. City of Alexandria Employees Credit Union, Inc. 827 F.2d 967, 974 (4th Cir. 1987).

         Under the FDCPA, the Seventh Circuit has noted that the “cumulative effect of petty

violations ..... may not be petty” and thus a case involving a small amount of damages is no

justification to deny attorney fees. Zagorski, 128 F.3d at 1167 (7th Cir. 1997) (quoting) Hyde v.

Small, 123 F.3d 583, 585 (7th Cir. 1997).

         An exception to the bar against proportionality arises on the recovery of nominal

damages. See, e.g. Farrar v. Hobby, 506 U.S. 103 113 S.Ct. 566, 575 121 L.Ed.2d 494 (1992)

                                                         -6-
P:\Documents\WPO2002\WP51\CONSUMER LAW FORMS\Moyer v. Turnbrook\Memo of Law in Support of Atty Fees.doc
           Case 2:05-cv-01053-JS Document 9-2 Filed 08/31/05 Page 7 of 10



(Plaintiff demanding $17 million dollars but recovering nominal damage of $1.00 is entitled to

no attorneys fees under civil rights statute); Carroll v. Wolpoff & Abramson, 53 F.3d 626, 630

(4th Cir. 1995) (FDCPA Plaintiff seeking $1,000.00 statutory damages but recovering $50.00 in

statutory damages, had attorney fee request for $10,000.00 reduced to $500.00); but see Zagorski

v. Midwest Billing Services, Inc., 128 F.3d 1164 (7th Cir. 1997) (trial court’s denial of attorney

fees, after Plaintiff’s recovery of $100.00 statutory damages, constituted an abuse of discretion).

         Nevertheless, an inadequate or nominal recovery is simply not an issue in the case at

hand. In fact, the Civil Judgment amount in this case could not reasonably be construed as

nominal damages, as it represents the maximum statute damages prescribed by statute.

Therefore Plaintiff’s attorneys are entitled to a full attorney fee award.

         Courts have encountered many examples of fee awards disproportionate to damage

awards. See City of Riverside v. Rivera, 477 U.S. 561, 106 S. Ct. 2686, 91 L.Ed.2d 466 (1986)

($245,456.25 in attorney fees, $33,350.00 in damages); Building Service Local 47, 46 F.3d 1392

(6th Cir. 1995) (ERISA case, $70,185.95 in attorney fees, $25,598.71 in damages); Northwest

Women’s Center v. McMonagh, 889 F.2d 466 (3rd Cir. 1989) (RICO case, over $60,000.00 in

attorney fees, $2,661.00 damages); Duval v. Midwest Auto City, Inc., 578 F.2d 721, 726 (8th Cir.

1978) (Federal Odometer case, over $14,000 attorney fees, $3,000 in damages); Perez v. Perkiss,

742 F. Supp. 883 (D.Del. 1990) (FDCPA case, $10,110 in attorney fees, $1,200 damages).

         In 2002, the court for the District of Minnesota found that an attorney fees and costs

award of $44,655.29 was reasonable in an FDCPA case litigated by the undersigned counsel,

where the Plaintiff’s statutory recovery was $1,000.00. Armstrong v. Rose Law Firm, P.A. -

Court File 00-2287 (MJD/SRN), 2002 WL 31050583.                            “The Court finds that Plaintiff’s

attorneys’ fees and costs [of $44,655.29] are reasonably proportional. While they far exceed the

[$1,000] statutory damages award in the present case, Plaintiff did not choose to create this
                                                         -7-
P:\Documents\WPO2002\WP51\CONSUMER LAW FORMS\Moyer v. Turnbrook\Memo of Law in Support of Atty Fees.doc
             Case 2:05-cv-01053-JS Document 9-2 Filed 08/31/05 Page 8 of 10



disparity. Defendant aggressively defended this case, as was its right. … This defense produced

a large amount of litigation, and significantly increased the number of hours Plaintiff’s attorney

committed to this case.” Id.

           The issue before this Court is no different than that which the Armstrong court

confronted: Defendants who vigorously fight the inevitable liability occasioned by violations of

the FDCPA, must stand ready to accept the fee awards inevitably occasioned by such a defense.

E.         PLAINTIFF’S ATTORNEY HAS EXERCISED SOUND DISCRETION IN

           WRITING-OFF APPROPRIATE AMOUNTS OF TIME PRIOR TO HIS

           APPLICATION FOR FEES TO THIS COURT.

           The time and billing records included within the Affidavits of the undersigned counsel

show a good use of discretion in billing appropriate amounts back to these Defendants for their

work necessary for establishing Defendants’ FDCPA liability to the Plaintiff.1 A review of these

records show that numerous time and billing entries have been discounted partially, or written-

off entirely, by Plaintiff’s attorney. The time and billing records, made part of the motion papers

before this Court, show good use of productive time by Plaintiff’s attorney and establish a sound

basis for granting this reasonable fee request.

F.         THE      COSTS        INCURRED           IN     LITIGATING            THIS       MATTER        WERE

           REASONABLE AND NECESSARY TO ENFORCE THE DEFENDANTS’

           LIABILITY UNDER THE FDCPA, AND REFLECT GOOD JUDGMENT ON

           THE PART OF PLAINTIFFS’ ATTORNEYS.

           The FDCPA permits an award of the “costs of the action” in the case of a successful

action to enforce liability under its provisions. 15 U.S.C. § 1692k(a)(3).



1
    See Affidavit of Jason M. Rapa – Exhibit A.
                                                         -8-
P:\Documents\WPO2002\WP51\CONSUMER LAW FORMS\Moyer v. Turnbrook\Memo of Law in Support of Atty Fees.doc
           Case 2:05-cv-01053-JS Document 9-2 Filed 08/31/05 Page 9 of 10



         The costs in this case were reasonable and incurred necessarily in litigating this case.

Travel was kept to a minimum and good judgment was used to minimize travel costs. In

addition, Plaintiff’s attorney did not charge unnecessary amounts for copies, postage, facsimiles,

or exorbitant travel expenses.

         The travel expenses and other costs incurred in successfully litigating this case were

reasonable and necessary, and therefore should be fully awarded by this Court.

G.       A VIGOROUS DEFENSE LEADS TO HIGHER ATTORNEY FEES AND COSTS

         FOR THE PLAINTIFF.

         The harder a defendant fights in a consumer action, the larger the fees ultimately become.

The Fifth Circuit, in McGowan v. King, Inc., 661 F.2d 48, 51 (5th Cir. 1981), laid bare the ugly

practicalities of consumer litigation when it held:

                  The borrower’s counsel did not inflate this small [Truth-In-Lending] case
                  into a large one; its protraction resulted from the stalwart defense. And
                  although defendants are not required to yield an inch or to pay a dime not
                  due, they may by militant resistance increase the exertions required of
                  their opponents and thus, if unsuccessful, be required to bear that cost.

See also, Diettrich v. Norwest Airlines, Inc., 967 F.Supp. 1132 (E.D. Wis. 1997). Given the

efforts of the Defendants, a higher fee application and award is natural. After Plaintiff filed her

complaint, Defendants vigorously defended the claims asserted, as was their right, even though

Plaintiffs’ counsels later established that the alleged FDCPA violations had occurred, after

having been vehemently denied by the Defendants. As a direct and proximate result of this

vigorous defense, Plaintiffs’ required a higher number of hours by to adequately present and

ultimately prove Plaintiffs’ claims under the FDCPA.

         As a natural and foreseeable consequence, Plaintiff reasonably incurred these attorney

fees and costs in order to vindicate her rights under the FDCPA.



                                                         -9-
P:\Documents\WPO2002\WP51\CONSUMER LAW FORMS\Moyer v. Turnbrook\Memo of Law in Support of Atty Fees.doc
          Case 2:05-cv-01053-JS Document 9-2 Filed 08/31/05 Page 10 of 10



                                              IV. CONCLUSION

         The truth is that these Defendants vigorously defended this lawsuit right up until

Arbitration award in favor of Plaintiff. Plaintiffs were compelled to vigorously litigate this case;

to follow through on its discovery requests; to conduct an arbitration hearing; and, to ultimately

discredit the version of facts offered up by these Defendants. It was only upon this solid

foundation of thorough preparation, litigation, and workup that these Plaintiffs were able to

prevail in this matter. Plaintiffs’ counsel now simply asks that this Court fairly and adequately

compensate them for those successful efforts.

         For the reasons herein, Plaintiffs respectfully request that this Court:

             •    GRANT Plaintiffs’ Motion for Attorney’s fees in the amount of $6,075.00 and costs

                  in the amount of $386.87;

             •    ORDER Defendants to pay Plaintiff’s counsel a total of $6,461.87, or such other

                  amount as the Court may determine such amount to be paid no later than October 1,

                  2005.

             •    ORDER Defendants to pay Plaintiff the $1,000.00 Civil Judgment entered on

                  August 25, 2005 no later than October 1, 2005.

Dated: August 31, 2005                                      LIGHTNER LAW OFFICES, P.C.

                                                            By:___s/jr1052____________________
                                                            Jason M. Rapa, Esq.
                                                            Attorney for Plaintiff
                                                            Attorney I.D. #: 89419
                                                            4654 Hamilton Boulevard
                                                            Allentown, PA 18103
                                                            Telephone: (610) 530-9300
                                                            Facsimile: (610) – 530-9310
                                                            jrapa@lightnerlaw.com

                                                            ATTORNEY FOR PLAINTIFF


                                                        -10-
P:\Documents\WPO2002\WP51\CONSUMER LAW FORMS\Moyer v. Turnbrook\Memo of Law in Support of Atty Fees.doc
